               Case 19-35011 Document 50 Filed in TXSB on 04/17/23 Page 1 of 1
                                                                            United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT            Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                 ENTERED
                                                                                   April 17, 2023
In     Vanco Electric LLC                                                       Nathan Ochsner, Clerk
Re:
       Debtor(s)                                       Case No.: 19−35011
                                                       Chapter: 7


                                             ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Randy W Williams is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 4/17/23
